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                    THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF ALASKA

 ALASKA INDUSTRIAL
 DEVELOPMENT AND EXPORT                    Case No. 3:21-cv-00245-SLG
 AUTHORITY, et al.,

                          Plaintiffs,

     and

 STATE OF ALASKA,

                Intervenor-Plaintiff,
                     v.

 JOSEPH R. BIDEN, JR., et al.,

                          Defendants.



     [APPLICANT] INTERVENOR-DEFENDANTS’ [PROPOSED] ANSWER
             TO AIDEA et al.’s FIRST AMENDED COMPLAINT

       Applicant Intervenor-Defendants Native Village of Venetie Tribal Government,

Arctic Village Council, and Venetie Village Council (Tribes) answer and respond to the

Alaska Industrial Development and Export Authority (AIDEA), North Slope Borough

(Borough), and Arctic Slope Regional Corporation’s (ASRC) (collectively the Plaintiffs)

First Amended Complaint (ECF No. 7). The Tribes deny any allegations of the

Complaint, whether express or implied, that are not expressly admitted, denied or

qualified in this [Proposed] Answer.

                                    INTRODUCTION

       1.     The allegations in Paragraph 1 are Plaintiffs’ characterizations of

Defendants’ actions and intent and legal conclusions and require no answer; except that

Tribes deny Plaintiffs’ characterization of the actions of Defendants as unlawful.

       2.     The allegations in Paragraph 2 are Plaintiffs’ characterizations of

congressional actions and the law and require no answer. To the extent that the

allegations characterize specific provisions of the Alaska National Interest Lands

Conservation Act (ANILCA) or legislation passed by Congress in 2017, the statutes



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themselves are the best evidence of their content and no response is required. To the

extent there are allegations in Paragraph 2 to which a response is required, the Tribes

deny the allegations.

       3.      The Tribes admit that the Bureau of Land Management (BLM) completed

an environmental review process for an Arctic Refuge Coastal Plain leasing program in

August 2020. The Tribes deny that it was extensive. To the extent there are further

allegations in Paragraph 3 to which a response is required, the Tribes deny the

allegations.

       4.      The Tribes admit that BLM held an Arctic Refuge Coastal Plain lease sale

in January 2021. To the extent that the allegations characterize what the law requires, the

law itself is the best evidence of its content and no response is required. To the extent

there are further allegations in Paragraph 4 to which a response is required, the Tribes

deny the allegations.

       5.      The Tribes admit the allegations in Paragraph 5.

       6.      The Tribes admit that President Biden issued Executive Order 13990 on

January 20, 2021. To the extent that the allegations characterize what the executive order

accomplishes, the order itself is the best evidence of its content and no response is

required. To the extent there are further allegations in Paragraph 6 to which a response is

required, the Tribes deny the allegations.

       7.      To the extent that the allegations in the first and second sentences of

Paragraph 7 characterize what the executive order and secretarial order accomplish, the

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orders themselves are the best evidence of their content and no response is required. To

the extent that the allegations in the third sentence of Paragraph 7 characterize what the

secretarial order accomplishes, the order itself is the best evidence of its content and no

response is required. To the extent there are further allegations in Paragraph 7 to which a

response is required, the Tribes deny the allegations.

       8.     The allegations in Paragraph 8 constitute legal conclusions to which no

response is required. To the extent Paragraph 8 contains factual allegations, the Tribes

deny them.

       9.     The allegations in Paragraph 9 characterize Plaintiffs’ requested relief to

which no response is required. To the extent the allegations constitute legal conclusions,

the law is the best evidence of its content, and no response is required. To the extent

there are further allegations in this Paragraph to which a response is required, the Tribes

deny the allegations, including that Plaintiffs are entitled to the requested relief.

                                          PARTIES

       10.    The Tribes admit that AIDEA is a public corporation of the State of Alaska.

The allegations in the second and fifth sentences of Paragraph 10 characterize the law.

The law is best evidence of its content and thus no response is required. The allegations

in the third and fourth sentences of Paragraph 10 are Plaintiffs’ characterizations of

AIDEA and its work, and the Tribes lack sufficient information or knowledge to admit or

deny them. To the extent there are further allegations in Paragraph 10 to which a

response is required, the Tribes deny the allegations.

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       11.    To the extent that the allegations in Paragraph 11 characterize the law, the

law itself is the best evidence of its content and no response is required. The Tribes are

without sufficient information or knowledge to admit or deny all other allegations in

Paragraph 11. To the extent there are allegations in Paragraph 11 to which a response is

required, the Tribes deny the allegations.

       12.    To the extent that the allegations in Paragraph 12 characterize the law, the

law itself is the best evidence of its content and no response is required. The Tribes are

without sufficient information or knowledge to admit or deny all other allegations in

Paragraph 12. To the extent there are allegations in Paragraph 12 to which a response is

required, the Tribes deny the allegations.

       13.    The Tribes are without sufficient information or knowledge to admit or

deny the allegations in Paragraph 13. To the extent there are allegations in Paragraph 13

to which a response is required, the Tribes deny the allegations.

       14.    The Tribes admit the allegations in Paragraph 14.

       15.    The Tribes admit the allegations in Paragraph 15.

       16.    The Tribes admit the allegations in Paragraph 16.

       17.    The Tribes admit the allegations in Paragraph 17.

       18.    The Tribes admit the allegations in Paragraph 18.

       19.    The Tribes admit the allegations in Paragraph 19.

       20.    The Tribes admit the allegations in Paragraph 20.



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                            JURISIDICATION AND VENUE

       21.     The allegations in Paragraph 21 constitute legal conclusions, to which no

response is required. To the extent there are any factual allegations in Paragraph 21, the

Tribes deny the allegations.

       22.     To the extent that allegations in paragraph 22 characterize the law or

constitute legal conclusions, no response is required. To the extent that there are factual

allegations in Paragraph 22 the Tribes are without sufficient information and knowledge

to admit or deny such allegations. To the extent there are allegations in Paragraph 22 to

which a response is required, the Tribes deny the allegations.

                                     BACKGROUND

       23.     The allegations in Paragraph 23 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 23 to which a response is required, the Tribes deny the

allegations.

       24.     The allegations in Paragraph 24 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 24 to which a response is required, the Tribes deny the

allegations.

       25.     The allegations in Paragraph 25 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 25 to which a response is required, the Tribes deny the

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allegations.

       26.     The allegations in Paragraph 26 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 26 to which a response is required, the Tribes deny the

allegations.

       27.     The allegations in Paragraph 27 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 27 to which a response is required, the Tribes deny the

allegations.

       28.     The allegations in Paragraph 28 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 28 to which a response is required, the Tribes deny the

allegations.

       29.     The allegations in Paragraph 29 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 29 to which a response is required, the Tribes deny the

allegations.

       30.     The allegations in Paragraph 30 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 30 to which a response is required, the Tribes deny the

allegations.

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       31.     The allegations in Paragraph 31 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 31 to which a response is required, the Tribes deny the

allegations.

       32.     The allegations in Paragraph 32 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 32 to which a response is required, the Tribes deny the

allegations.

       33.     The Tribes admit that President Eisenhower designated approximately 8.9

million acres of land in northeastern Alaska as a federally protected wildlife refuge,

initially named the Arctic National Wildlife Range and later the Arctic National Wildlife

Refuge. To the extent there are further allegations in Paragraph 33, the Tribes deny the

allegations.

       34.     The Tribes admit the allegations in Paragraph 34.

       35.     The allegations in Paragraph 35 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 35 to which a response is required, the Tribes deny the

allegations.

       36.     The allegations in Paragraph 36 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 36 to which a response is required, the Tribes deny the

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allegations.

       37.     To the extent that the allegations in Paragraph 37 characterize the law, the

law itself is the best evidence of its content, and thus no response is required. The Tribes

deny that Congress set aside 1.5 million acres of the Arctic National Wildlife Refuge for

potential oil and gas development. To the extent there are further allegations in

Paragraph 37 to which a response is required, the Tribes deny the allegations.

       38.     The allegations in Paragraph 38 characterize the law which itself is the best

evidence of its content, and thus no response is required. The Tribes admit that the Arctic

Refuge Coastal Plain land area identified in Section 1002 of ANILCA is sometimes

referred to as the “1002 Area.” To the extent there are further allegations in Paragraph 38

to which a response is required, the Tribes deny the allegations.

       39.     The allegations in Paragraph 39 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 39 to which a response is required, the Tribes deny the

allegations.

       40.     The allegations in Paragraph 40 characterize a report, which is itself the

best evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 40 to which a response is required, the Tribes deny the

allegations.

       41.     The allegations in Paragraph 41 characterize action by Secretary of Interior

Hodel, which itself is the best evidence of his action, and thus no response is required.

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To the extent there are allegations in Paragraph 41 to which a response is required, the

Tribes deny the allegations.

       42.     The Tribes admit that the Tax Cuts and Jobs Act of 2017 was signed into

law on December 22, 2017. The allegations in Paragraph 42 that characterize that law do

not require a response as the law itself is the best evidence of its content. To the extent

there are further allegations in Paragraph 42 to which a response is required, the Tribes

deny the allegations.

       43.     The allegations in Paragraph 43 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 43 to which a response is required, the Tribes deny the

allegations.

       44.     The allegations in Paragraph 44 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 44 to which a response is required, the Tribes deny the

allegations.

       45.     The allegations in Paragraph 45 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 45 to which a response is required, the Tribes deny the

allegations.

       46.     The allegations in Paragraph 46 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

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allegations in Paragraph 46 to which a response is required, the Tribes deny the

allegations.

       47.     The allegations in Paragraph 47 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 47 to which a response is required, the Tribes deny the

allegations.

       48.     The allegations in Paragraph 48 quote and characterize the law which itself

is the best evidence of its content, and thus no response is required. To the extent there

are allegations in Paragraph 48 to which a response is required, the Tribes deny the

allegations.

       49.     The allegations in Paragraph 49 quote the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 49 to which a response is required, the Tribes deny the

allegations.

       50.     The allegations in Paragraph 50 characterize and quote the law which itself

is the best evidence of its content, and thus no response is required. To the extent there

are allegations in Paragraph 50 to which a response is required, the Tribes deny the

allegations.

       51.     The allegations in Paragraph 51 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 51 to which a response is required, the Tribes deny the

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allegations.

       52.     The allegations in Paragraph 52 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 52 to which a response is required, the Tribes deny the

allegations.

       53.     The allegations in Paragraph 53 characterize the law which itself is the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 53 to which a response is required, the Tribes deny the

allegations.

       54.     The Tribes admit that the Native Village of Kaktovik participated in the

environmental review process as a cooperating agency. The Tribes are without sufficient

information or knowledge to admit or deny the remaining allegations in Paragraph 54.

To the extent there are allegations in Paragraph 54 to which a response is required, the

Tribes deny the allegations.

       55.     The Tribes are without sufficient information or knowledge to admit or

deny the allegations in Paragraph 55. To the extent there are allegations in Paragraph 55

to which a response is required, the Tribes deny the allegations.

       56.     To the extent that the allegations in Paragraph 56 characterize a report, the

report provides the best evidence of its content, and no response is required. The Tribes

are without sufficient information or knowledge to admit or deny further allegations in

Paragraph 56. To the extent there are allegations in Paragraph 56 to which a response is

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required, the Tribes deny the allegations.

       57.    To the extent that the allegations in Paragraph 57 characterize a document

prepared by the United States Geological Survey, that document provides the best

evidence of its content, and no response is required. The Tribes are without sufficient

information or knowledge to admit or deny further allegations in Paragraph 57. To the

extent there are allegations in Paragraph 57 to which a response is required, the Tribes

deny the allegations.

       58.    The Tribes are without sufficient information or knowledge to admit or

deny the allegations in Paragraph 58. To the extent there are allegations in Paragraph 58

to which a response is required, the Tribes deny the allegations.

       59.    The Tribes are without sufficient information or knowledge to admit or

deny the allegations in Paragraph 59. To the extent there are allegations in Paragraph 59

to which a response is required, the Tribes deny the allegations.

       60.    The Tribes are without sufficient information or knowledge to admit or

deny the allegations in Paragraph 60. To the extent there are allegations in Paragraph 60

to which a response is required, the Tribes deny the allegations.

       61.    The Tribes are without sufficient information or knowledge to admit or

deny the allegations in Paragraph 61. To the extent there are allegations in Paragraph 61

to which a response is required, the Tribes deny the allegations.

       62.    The Tribes are without sufficient information or knowledge to admit or

deny the allegations in Paragraph 62. To the extent there are allegations in Paragraph 62

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to which a response is required, the Tribes deny the allegations.

       63.    To the extent that the allegations in Paragraph 63 characterize a document

prepared by the United States Geological Survey, that document provides the best

evidence of its content, and no response is required. The Tribes are without sufficient

information or knowledge to admit or deny further allegations in Paragraph 63. To the

extent there are allegations in Paragraph 63 to which a response is required, the Tribes

deny the allegations.

       64.    The Tribes are without sufficient information or knowledge to admit or

deny allegations in Paragraph 64. To the extent there are allegations in Paragraph 64 to

which a response is required, the Tribes deny the allegations.

       65.    The Tribes are without sufficient information or knowledge to admit or

deny allegations in Paragraph 65. To the extent there are allegations in Paragraph 65 to

which a response is required, the Tribes deny the allegations.

       66.    The Tribes admit that BLM initiated an environmental review for the

Coastal Plain Oil and Gas Leasing Program after 2017, that there was a 60-day scoping

period, that BLM issued a draft environmental impact statement (DEIS), that there was a

75-day comment period on the DEIS, and that BLM held public meetings. The Tribes

are without sufficient information or knowledge to admit or deny further allegations in

Paragraph 66. To the extent there are allegations in Paragraph 66 to which a response is

required, the Tribes deny the allegations.

       67.    The allegations in the first sentence of Paragraph 67 characterize BLM’s

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DEIS and final environmental impact statement (FEIS), documents which themselves

provide the best evidence of their content, and thus no response is required. The

allegation in the second sentence of Paragraph 67 characterizes the FEIS, which provides

the best evidence of its content, and no response is required. To the extent there are

allegations in Paragraph 67 to which a response is required, the Tribes deny the

allegations.

       68.     The Tribes are without sufficient information or knowledge to admit or

deny further allegations in Paragraph 68. To the extent there are allegations in Paragraph

68 to which a response is required, the Tribes deny the allegations.

       69.     The Tribes admit that BLM issued a record of decision (ROD) in August

2020. The Tribes are without sufficient information or knowledge to admit or deny the

remaining allegations in the first sentence of Paragraph 69. The remaining allegations in

Paragraph 69 characterize contents of the ROD, which provides the best evidence of its

content, and no response is required. To the extent there are other allegations in

Paragraph 69 to which a response is required, the Tribes deny the allegations.

       70.     The allegations in Paragraph 70 characterize and quote the ROD, which

provides the best evidence of its content, and thus no response is required. To the extent

there are allegations in Paragraph 70 to which a response is required, the Tribes deny the

allegations.

       71.     The allegations in Paragraph 71 characterize and quote the ROD, which

provides the best evidence of its content, and thus no response is required. To the extent

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there are allegations in Paragraph 71 to which a response is required, the Tribes deny the

allegations.

       72.     The allegations in Paragraph 72 characterize and quote the ROD, which

provides the best evidence of its content, and thus no response is required. To the extent

there are allegations in Paragraph 72 to which a response is required, the Tribes deny the

allegations.

       73.     The allegations in Paragraph 73 characterize and quote the ROD, which

provides the best evidence of its content, and thus no response is required. The allegation

in the second sentence of Paragraph 73 is also a legal conclusion, to which no response is

required. To the extent there are allegations in Paragraph 73 to which a response is

required, the Tribes deny the allegations.

       74.     The allegations in Paragraph 74 characterize the ROD, which provides the

best evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 74 to which a response is required, the Tribes deny the

allegations.

       75.     The allegations in Paragraph 75 characterize the ROD, which provides the

best evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 75 to which a response is required, the Tribes deny the

allegations.

       76.     The Tribes admit the allegation in the first sentence of Paragraph 76. The

Tribes are without sufficient information or knowledge to admit or deny the allegation in

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the second sentence of Paragraph 76 concerning the receipt and consideration of

comments by BLM. The Tribes admit the allegation in the second sentence of Paragraph

76 that BLM issued an amended Detailed Statement of Sale on December 18, 2020. That

document provides the best evidence of its content, and thus no further response is

required. The Tribes admit that BLM accepted bids between December 21, 2020 and

December 31, 2020. To the extent there are allegations in Paragraph 76 to which a

response is required, the Tribes deny the allegations.

       77.     The Tribes admit the allegations in Paragraph 77.

       78.     The Tribes admit the allegations in Paragraph 78.

       79.     The Tribes admit that BLM leased seven tracts to AIDEA. The remaining

allegations in Paragraph 79 characterize lease agreements, which are themselves the best

evidence of their content, and thus no response is required. To the extent there are

allegations in Paragraph 79 to which a response is required, the Tribes deny the

allegations.

       80.     The Tribes are without sufficient information or knowledge to admit or

deny the allegations in Paragraph 80. To the extent there are allegations in Paragraph 80

to which a response is required, the Tribes deny the allegations.

       81.     The Tribes are without sufficient information or knowledge to admit or

deny the allegations in Paragraph 81. To the extent there are allegations in Paragraph 81

to which a response is required, the Tribes deny the allegations.

       82.     The Tribes admit the allegation in the first sentence of Paragraph 82 that

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President Biden was sworn into office on January 20, 2021. The remaining allegations in

Paragraph 82 are legal conclusions to which no response is required. To the extent there

are allegations in Paragraph 82 to which a response is required, the Tribes deny the

allegations.

       83.     The Tribes admit the allegation in the first sentence of Paragraph 83 that

President Biden issued Executive Order 13990 on his first day in office. The remaining

allegations in Paragraph 83 quote Executive Order 13990, which provides the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 83 to which a response is required, the Tribes deny the

allegations.

       84.     The allegations in Paragraph 84 characterize Executive Order 13990, which

provides the best evidence of its content, and thus no response is required. The

allegations in the final sentence of Paragraph 84 characterize the Defendants’ position in

a lawsuit, and the pleadings in such lawsuit are the best evidence of their content. To the

extent there are allegations in Paragraph 84 to which a response is required, the Tribes

deny the allegations.

       85.     The Tribes admit the allegation in the first sentence of Paragraph 85 that

the Secretary of the Interior issued Order No. 3401 on June 1, 2020. Other allegations in

Paragraph 85 characterize and quote Secretarial Order No. 3401, which provides the best

evidence of its content, and thus no response is required. To the extent there are

allegations in Paragraph 85 to which a response is required, the Tribes deny the

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allegations.

       86.     The allegations in Paragraph 86 characterize and quote Secretarial Order

No. 3401, which provides the best evidence of its content, and thus no response is

required. To the extent there are allegations in Paragraph 86 to which a response is

required, the Tribes deny the allegations.

       87.     The allegations in Paragraph 87 characterize and quote Secretarial Order

No. 3401, which provides the best evidence of its content, and thus no response is

required. To the extent there are allegations in Paragraph 87 to which a response is

required, the Tribes deny the allegations.

       88.     The allegations in Paragraph 88 characterize Secretarial Order No. 3401,

which provides the best evidence of its content, and thus no response is required. To the

extent there are allegations in Paragraph 88 to which a response is required, the Tribes

deny the allegations.

       89.     The allegations in Paragraph 89 characterize and quote Secretarial Order

No. 3401, which provides the best evidence of its content, and thus no response is

required. To the extent there are allegations in Paragraph 89 to which a response is

required, the Tribes deny the allegations.

       90.     The allegations in Paragraph 90 characterize Secretarial Order No. 3401,

which provides the best evidence of its content, and thus no response is required. To the

extent that the allegations in Paragraph 90 contain legal conclusions, no response is

required. To the extent there are allegations in Paragraph 90 to which a response is

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required, the Tribes deny the allegations.

       91.     The allegation in the first sentence of Paragraph 91 characterizes Secretarial

Order No. 3401, which speaks for itself and contains the best evidence of its content.

The allegation in the second sentence of Paragraph 91 is a legal conclusion, to which no

response is required. To the extent there are allegations in Paragraph 91 to which a

response is required, the Tribes deny the allegations.

       92.     The allegations in Paragraph 92 are legal conclusions, to which no response

is required. To the extent there are allegations in Paragraph 92 to which a response is

required, the Tribes deny the allegations.

       93.     The Tribes admit the allegation in Paragraph 93 that the Principal Deputy

Secretary for Land and Minerals Management issued a Suspension of Operations and

Production (SOP) to AIDEA dated June 1, 2021. The remaining allegations in Paragraph

93 characterize the content of the SOP, which speaks for itself and contains the best

evidence of its content. To the extent there are allegations in Paragraph 93 to which a

response is required, the Tribes deny the allegations.

       94.     The allegations in Paragraph 94 characterize the content of the SOP, which

speaks for itself and contains the best evidence of its content. To the extent there are

allegations in Paragraph 94 to which a response is required, the Tribes deny the

allegations.

       95.     The allegations in Paragraph 95 are legal conclusions, to which no

response is required. To the extent there are allegations in Paragraph 95 to which a

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response is required, the Tribes deny the allegations.

       96.    The allegations in Paragraph 96 are legal conclusions, to which no response

is required. To the extent there are allegations in Paragraph 96 to which a response is

required, the Tribes deny the allegations.

       97.    The Tribes are without sufficient information or knowledge to admit or

deny the allegations in the first three sentences of Paragraph 97. The allegations in the

final sentence of Paragraph 97 are legal conclusions, to which no response is required.

To the extent there are allegations in Paragraph 97 to which a response is required, the

Tribes deny the allegations.

       98.    The allegations in Paragraph 98 are legal conclusions, to which no

response is required. To the extent there are allegations in Paragraph 98 to which a

response is required, the Tribes deny the allegations.

       99.    The allegations in Paragraph 99 are legal conclusions, to which no

response is required. To the extent there are allegations in Paragraph 99 to which a

response is required, the Tribes deny the allegations.

       100.   The allegations in Paragraph 100 are legal conclusions, to which no

response is required. To the extent there are allegations in Paragraph 100 to which a

response is required, the Tribes deny the allegations.

       101.   The Tribes admit the allegations in Paragraph 101.

       102.   The allegations in Paragraph 102 characterize the content of the Notice of

Intent, which speaks for itself and contains the best evidence of its content. To the extent

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there are allegations in Paragraph 102 to which a response is required, the Tribes deny the

allegations.

       103.    The Tribes admit the allegations in the first sentence of Paragraph 103.

The Tribes are without sufficient information or knowledge to admit or deny the

allegations in the second sentence of Paragraph 103.

       104.    The allegations in Paragraph 104 characterize the content of the Notice of

Intent, which speaks for itself and contains the best evidence of its content. To the extent

there are allegations in Paragraph 104 to which a response is required, the Tribes deny the

allegations.

       105.    The allegations in Paragraph 105 characterize the content of the Notice of

Intent, which speaks for itself and contains the best evidence of its content. To the extent

there are allegations in Paragraph 105 to which a response is required, the Tribes deny the

allegations.

       106.    The allegations in Paragraph 106 characterize the content of the Notice of

Intent, which speaks for itself and contains the best evidence of its content. To the extent

there are allegations in Paragraph 106 to which a response is required, the Tribes deny the

allegations.

       107.    The allegations in Paragraph 107 characterize the content of the Notice of

Intent, which speaks for itself and contains the best evidence of its content. To the extent

there are allegations in Paragraph 107 to which a response is required, the Tribes deny the

allegations.

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       108.    The allegations in Paragraph 108 characterize the content of the Notice of

Intent, which speaks for itself and contains the best evidence of its content. To the extent

there are allegations in Paragraph 108 to which a response is required, the Tribes deny the

allegations.

       109.    The Tribes are without sufficient information or knowledge to admit or

deny the allegations in Paragraph 109. Further, the allegations in Paragraph 109

characterize BLM’s statements, which speak for themselves and contain the best

evidence of their content. To the extent there are allegations in Paragraph 109 to which a

response is required, the Tribes deny the allegations.

       110.    The allegations in Paragraph 110 are legal conclusions, to which no

response is required. To the extent there are allegations in Paragraph 110 to which a

response is required, the Tribes deny the allegations.

       111.    The Tribes admit the allegations in Paragraph 111.

       112.    The allegations in Paragraph 112 characterize legal filings in lawsuits.

These filings speak for themselves and contain the best evidence of their content. To the

extent there are allegations in Paragraph 112 to which a response is required, the Tribes

deny the allegations.

       113.    The allegation in the first sentence of Paragraph 113 characterizes

Secretarial Order 3401, which speaks for itself and contains the best evidence of its

content. The remaining sentences in Paragraph 113 quote and characterize caselaw,

which is itself the best evidence of its content. To the extent there are allegations in

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Paragraph 113 to which a response is required, the Tribes deny the allegations.

       114.    The allegations in Paragraph 114 characterize the content of the SOP,

which speaks for itself and contains the best evidence of its content. To the extent there

are allegations in Paragraph 114 to which a response is required, the Tribes deny the

allegations.

                                      COUNT ONE

       115.    The Tribes respond to the allegations in Paragraph 115 as presented above.

       116.    The allegation in Paragraph 116 quotes a statute, which speaks for itself

and contains the best evidence of its content. To the extent there are allegations in

Paragraph 116 to which a response is required, the Tribes deny the allegations.

       117.    The Tribes deny the allegations in Paragraph 117.

       118.    The Tribes deny the allegations in Paragraph 118.

       119.    The Tribes deny the allegations in Paragraph 119.

                                      COUNT TWO

       120.    The Tribes respond to the allegations in Paragraph 120 as presented above.

       121.    The allegation in Paragraph 121 quotes a statute, which speaks for itself

and contains the best evidence of its content. To the extent there are allegations in

Paragraph 121 to which a response is required, the Tribes deny the allegations.

       122.    The allegation in Paragraph 122 quotes a case, which speaks for itself and

contains the best evidence of its content. To the extent there are allegations in Paragraph

122 to which a response is required, the Tribes deny the allegations.

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       123.   The Tribes deny the allegations in Paragraph 123.

       124.   The allegations contained in Paragraph 124 contain legal conclusions, to

which no response is required. To the extent there are allegations in Paragraph 124 to

which a response is required, the Tribes deny the allegations.

       125.   The allegation in Paragraph 125 characterizes a statute, which speaks for

itself and contains the best evidence of its content. To the extent there are allegations in

Paragraph 125 to which a response is required, the Tribes deny the allegations.

       126.   The Tribes deny the allegations in Paragraph 126.

       127.   The allegations in Paragraph 127 are legal conclusions, to which no

response is required. To the extent there are allegations in Paragraph 127 to which a

response is required, the Tribes deny the allegations.

       128.   The allegations in Paragraph 128 characterize a statute, which speaks for

itself and contains the best evidence of its content. To the extent there are allegations in

Paragraph 128 to which a response is required, the Tribes deny the allegations.

       129.   The Tribes deny the allegations in Paragraph 129.

       130.   The allegations in Paragraph 130 are legal conclusions, to which no

response is required. To the extent there are allegations in Paragraph 130 to which a

response is required, the Tribes deny the allegations.

       131.   The Tribes deny the allegations in Paragraph 131.

                                     COUNT THREE

       132.   The Tribes respond to the allegations in Paragraph 132 as presented above.

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       133.    The Tribes deny the allegations in Paragraph 133.

                                      COUNT FOUR

       134.    The Tribes respond to the allegations in Paragraph 134 as presented above.

       135.    The allegation in Paragraph 135 characterizes a statute, which speaks for

itself and contains the best evidence of its content. To the extent there are allegations in

Paragraph 135 to which a response is required, the Tribes deny the allegations.

       136.    The Tribes deny the allegations in Paragraph 136.

       137.    The Tribes admit that BLM estimates that the supplemental environmental

review process may take over a year to complete. The Tribes are without sufficient

information and knowledge to admit or deny other allegations in Paragraph 137. To the

extent a response is required to these other allegations, the Tribes deny the allegations.

       138.    The Tribes deny the allegations in Paragraph 138.

                                      COUNT FIVE

       139.    The Tribes respond to the allegations in Paragraph 139 as presented above.

       140.    The Tribes deny the allegations in Paragraph 140.

       141.    The allegations in Paragraph 141 characterize the content of the SOP,

which speaks for itself and contains the best evidence of its content. To the extent there

are allegations in Paragraph 141 to which a response is required, the Tribes deny the

allegations.

       142.    The Tribes deny the allegations in Paragraph 142.

                                       COUNT SIX

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       143.    The Tribes respond to the allegations in Paragraph 143 as presented above.

       144.    The allegations in Paragraph 144 characterize Defendants’ position in a

lawsuit, and the pleadings in such lawsuit are the best evidence of their content. To the

extent there are allegations in Paragraph 144 to which a response is required, the Tribes

deny the allegations.

       145.    The Tribes deny the allegations in Paragraph 145.

       146.    The Tribes deny the allegations in Paragraph 146.

       147.    The Tribes deny the allegations in Paragraph 147.

       148.    The Tribes deny the allegations in Paragraph 148.

                                     COUNT SEVEN

       149.    The Tribes respond to the allegations in Paragraph 149 as presented above.

       150.    The allegations in Paragraph 150 characterize and quote Executive Order

13990, which speaks for itself and contains the best evidence of its content. To the extent

there are allegations in Paragraph 150 to which a response is required, the Tribes deny the

allegations.

       151.    The allegations in Paragraph 151 are legal conclusions, to which no

response is required. To the extent the allegations in Paragraph 151 characterize or quote

a statute, the statute speaks for itself and contains the best evidence of its content. To the

extent there are allegations in Paragraph 150 to which a response is required, the Tribes

deny the allegations.

                                 PRAYER FOR RELIEF

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       The remaining paragraphs of Plaintiffs’ First Amended Complaint constitute the

Plaintiffs’ Prayer For Relief and require no response. The Tribes deny that Plaintiffs are

entitled to relief.

                                    GENERAL DENIAL

       The Tribes deny any and all allegations of the First Amended Complaint, whether

express or implied, including allegations reflected in section headings, that are not

expressly admitted, denied, or qualified herein.

                               AFFIRMATIVE DEFENSES

       1.      The Tribes assert that the Court lacks subject matter jurisdiction to hear this

Complaint.

       2.      The Tribes assert that Plaintiffs have failed to state a claim upon which

relief can be granted.

       3.      The Tribes assert that Plaintiffs lack standing to bring some or all of their

claims.

       4.      The Tribes assert that Plaintiffs’ claims are barred by the doctrine of

ripeness.

       5.      The Tribes reserve the right to assert such other affirmative defenses as

may become known or available in the courses of this litigation.

                                       CONCLUSION

       The Tribes request that the Court enter judgment in favor of Defendants and

against Plaintiffs, and grant such additional relief as is fitting and just.

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DATED: March 14, 2022

                                Respectfully submitted,
                                NATIVE AMERICAN RIGHTS FUND

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